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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

 SHIRLEY HYMAN, individually and
 on behalf of all others similarly situated,       Case No.: 2:15-cv-13769

                     Plaintiff,                    Hon. Stephen J. Murphy, III

         v.                                        Mag. Mona K. Majzoub

 TV GUIDE MAGAZINE, LLC, a
 Delaware limited liability company,

                     Defendant.


                   THE PARTIES’ JOINT DISCOVERY PLAN

         Pursuant to Federal Rule of Civil Procedure 26(f) and the Court’s October 4,

 2017 Order, (dkt. 42), Plaintiff Shirley Hyman (“Plaintiff”) and Defendant TV

 Guide Magazine, LLC (“Defendant”) hereby submit the following Joint Discovery

 Plan.

         A Rule 16 Scheduling Conference is scheduled for October 25, 2017 at 9:30

 A.M. Appearing for the parties as counsel will be:

            Ben Thomassen                              Hillard M. Sterling, Esq.
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 1)      Jurisdiction: This Court has subject matter jurisdiction pursuant to 28


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 U.S.C. §1332(d)(2) because (a) at least one member of the putative class is a

 citizen of a state different from Defendants, (b) the amount in controversy exceeds

 $5,000,000, exclusive of interest and costs, and (c) none of the exceptions under

 that subsection apply to this action. Defendant asserts that there is no subject

 matter jurisdiction because Plaintiff lacks Article III standing, which Defendant

 previously asserted (dkt. 28) and the Court denied based on the Sixth Circuit’s

 decision in Coulter-Owens v. Time, Inc. (dkt. 37-1).

 2)    Jury or Non-Jury: Both parties have demanded a trial by jury.

 3)    Statement of the Case:

       Plaintiff’s Statement: In this putative class action, Plaintiff alleges that

Defendant sold and/or shared its Michigan customers’ detailed and personally

identifiable magazine subscription records to numerous third parties, including

data mining companies. Plaintiff alleges that by disclosing such personal

information without notice or her written consent, Defendant violated Michigan's

Preservation of Personal Privacy Act, Mich. Comp. Laws §§ 445.1711–15 (the

“MPPPA”) and, in addition, was unjustly enriched at her and others’ expenses.

Accordingly, Plaintiff brought this case on behalf on herself and all similarly

situated Michigan customers, and seeks to recover—under the pre-2016 version of

the MPPPA—statutory damages, costs, and reasonable attorneys’ fees.

       Defendant’s Statement: Defendant denies that it engaged in the practices



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 alleged, and denies that Plaintiff has valid claims under the MPPPA, for unjust

 enrichment, or under any other legal theory. Defendant’s defenses that are likely

 to be the focus of this litigation include the following. First, Defendant provided

 written notice to Plaintiff and the putative class, in compliance with an express

 exception to the MPPPA, giving subscribers the ability to remove their names from

 mailing lists. See MCL § 445.1713 (allowing disclosure for “the exclusive purpose

 of marketing goods and services directly to the consumer” if the customer receives

 notice of the ability to “remove his or her name at any time by written notice”).

 Second, the MPPPA only applies to sellers “at retail,” which does not include

 subscriptions made through third parties. Third, Plaintiff’s allegations are

 erroneous with regard to Defendant’s practices, which do not violate the MPPPA

 as alleged by Plaintiff.

 4)    Pendent State Claims: This case does not include pendent state claims.

 5)    Joinder of Parties and Amendment of Pleadings: The parties expect to file

 all motions for joinder of parties to this action and to file all motions to amend the

 pleadings by November 22, 2017.

 6)    Disclosures and Exchanges: The parties are unable to agree on voluntary

 production at this time.

 7)    Discovery: The parties believe that all discovery proceedings can be

 completed by June 1, 2018. The parties recommend the following discovery plan,



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 and acknowledge that if the Court believes that discovery motions have been filed

 unnecessarily, in bad faith, or for vexatious or tactical reasons, the Court may

 appoint a Discovery Master to shift the costs of disposing of these motions from

 the Court to the parties:

              Discovery Begins:                             October 25, 2017

              Initial Disclosures Due:                      November 8, 2017

              Witness List Disclosures:                     March 30, 2018

              Expert Disclosures Due:                       March 30, 2018

              Discovery Ends:                               June 1, 2018

              Deadline to File Motion for Class
              Certification:                                June 29, 2018

              Deadline to Oppose Class Certification:       July 27, 2018

              Deadline to File Reply in support of
              Class Certification:                          August 10, 2018

              Dispositive Motions Due:                      30 days after ruling on
                                                            class certification

 The Parties do not believe there is any reason or need to phase or limit discovery at

 this time.

 8)    Disclosure / Discovery of Electronically Stored Information: The parties

 have discussed the production of electronically stored information and suggest that

 such information be handled as follows:

       Documents amenable to being imaged will be produced as images on optical

 disks (i.e., CDs or DVDs), external hard drives accompanied by TIFF Image (DII)


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 Load Files, or will be made available via a secure electronic download. Documents

 produced in this manner will be accompanied by load files with searchable text

 (including OCR text). Any ESI produced in this manner shall also include, to the

 extent available:

    • Unitization (including the production number of the first and last page
      of each file);

    • Attachments (including information sufficient to identify the parent
      and child relationships of all documents and ESI that are or have
      attachments);

    • Source information (including the identity of the custodian, or, if
      none, a generalized location); and

    • Metadata (including author, file type, date created, data modified,
      title, FilePath, PathToNative, sender (“(“from”), primary recipient
      (“to”), courtesy or carbon copy (“cc”), blind courtesy or carbon copy
      (“bcc”), subject, sent time/date, received time/data, and MD5 hash
      value).

       To the extent that spreadsheets, executable files, videos, animations, audio

 files, and presentations that include video, animation, or audio shall be produced,

 these items shall be produced where practical in native format. To the extent that

 documents produced in native format cannot be rendered or viewed without the use

 of propriety software, the Parties shall meet and confer to minimize any expense or

burden associated with the review of such documents, including issues that may

arise with respect to obtaining access to any such software or operating manuals.

All documents produced as native files shall be produced along with a spacer


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 image sheet that: (i) is in the format for static images explained above; (ii)

 indicates that the file was produced as a native file; and (iii) is marked with a

 production number. That production number will be the production number of the

 corresponding native file. The native file shall be named according to this

 production number.

 9)    Assertion of Claims of Privilege or Work-Product Immunity After

 Production: The Parties have agreed on a procedure to address claims of privilege

 and/or work product immunity for items inadvertently produced during discovery.

 In the event that a document protected by the attorney-client privilege, the attorney

 work product doctrine or other applicable privilege or protection is unintentionally

 produced by any Party to this proceeding, the producing Party may request that the

 document be returned. In the event that such a request is made, all Parties to the

 litigation and their counsel shall promptly return all copies of the document in their

 possession, custody, or control to the producing party and shall not retain or make

 any copies of the document or any documents derived from such document. The

 producing Party shall promptly identify the returned document on a privilege log.

The unintentional disclosure of a privileged or otherwise protected document shall

not constitute a waiver of the privilege or protection with respect to that document

or any other documents involving the same or similar subject matter.

10)    Motions: The parties acknowledge that E.D. Mich. LR 7.1 requires a



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 moving party to ascertain whether any motion will be opposed. All motions shall

 affirmatively state the efforts of the moving party to comply with the obligation

 created by Rule 7.1. All non-dispositive motions shall be accompanied by a

 certificate setting forth in detail the efforts of the moving party to comply with the

 obligation created by Rule 7.1. All discovery motions shall be accompanied by a

 certificate and any relevant documentation or correspondence detailing the

 movant's attempts to seek resolution of the discovery dispute before filing the

 motion.

       The following dispositive motions are contemplated by each party:

 Plaintiff anticipates filing a motion for summary judgment following a sufficient

 period for discovery. Plaintiff additionally anticipates filing a motion for class

 certification under Rule 23(b)(3).

 Defendant anticipates filing a motion for summary judgment following a sufficient

period for discovery. Defendant also anticipates filing the motion for summary

judgment prior to the litigation and adjudication of a motion for class certification,

which may be rendered moot or otherwise impacted by the Court’s ruling on

summary judgment.

11)    Alternative Dispute Resolution: The parties acknowledge that the Court

reserves the right under Local Rule 16 to order alternative dispute resolution, and

recommend that this case be submitted to the following method(s) of alternative



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 dispute resolution:

       Plaintiff believes that—following a period of initial discovery (i.e.,

 whereupon she can discover, inter alia, the size and composition of the putative

 class)—this case will be appropriate for private mediation, consistent with the

 guidelines set forth in LR 16.4.

       Defendant agrees that this case will be appropriate for private mediation

 once the potential size and composition of the putative class is determined.

 12)   Length of Trial: Counsel estimate that the trial will last approximately 3-5

 days total, lasting from 8:30 a.m. to 2:00 p.m. each day, allocated as follows: two

 (2) days for Plaintiff’s case; three (3) days for Defendant’s case.

 13)   Prospects of Settlement: Plaintiff and Defendant have not had substantive

 settlement discussions to date, though they have conferred (through counsel)

 regarding their respective views of the claims and defenses at issue. Because this

 matter was brought as a putative class action, Plaintiff requires—at minimum—

 information about the size of the putative class before she can make an informed

 settlement demand on Defendant.

 14)   Electronic Document Filing System: Counsel acknowledges that Local

 Rule 5.1 requires that attorneys file and serve all documents electronically, by

 means of the Court's CM/ECF system, unless the party has been excused from

 electronic filing on motion for good cause shown. The Court expects all counsel to



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 abide by the requirements of this rule. Pro se parties (litigants representing

 themselves without the assistance of a lawyer) acknowledge that they must submit

 their documents to the Clerk on paper, in a form complying with the requirements

 of the local rules. Counsel opposing a pro se party acknowledges that they must

 file documents electronically but serve pro se parties with paper documents in the

 traditional manner.

 15)   Other: Apart from the fact that this case was brought as a putative class

 action—and, thus, will require discovery beyond those facts strictly limited to

 Plaintiff’s claim—the parties are aware of no special characteristics or other factors

 relevant to the cause may warrant extended discovery, accelerated disposition by

 motion, or other factors relevant to the case.

                                                  Respectfully submitted,

 Dated: October 23, 2017                          Shirley Hyman, individually and on
                                                  behalf of all others similarly situated,

                                                  By: /s/ Benjamin S. Thomassen
                                                         One of Plaintiff’s Attorneys

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                                           Counsel for Plaintiff and the
                                           Proposed Class

 Dated: October 23, 2017                   TV Guide Magazine, LLC

                                           By: /s/ Hillard M. Sterling
                                                  One of Defendant’s Attorneys

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                         CERTIFICATE OF SERVICE

       I, Benjamin S. Thomassen, an attorney, certify that on October 23, 2017, I
 served the above and foregoing document by causing true and accurate copies of
 such paper to be filed and transmitted to all counsel of record via the Court’s
 CM/ECF electronic filing system.

                                       /s/ Benjamin S. Thomassen




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